






	

	








IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,947




		


EX PARTE CASEY TYRONE SLEDGE, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


IN CAUSE NO. 52026-02-B FROM THE


		      181ST DISTRICT COURT OF POTTER COUNTY




	

	Alcala, J., filed a dissenting opinion in which Cochran, J., joins.


DISSENTING OPINION
	

			

	I respectfully dissent from the Court's opinion dismissing the second application of
Casey Tyrone Sledge, applicant, for a writ of habeas corpus.  At the outset, for purposes of
clarity, it is important to observe that two jurisdictional questions are at issue here: The first
question is whether this Court has jurisdiction to consider applicant's claim in this
subsequent writ and, if we do, the second question is whether the applicant has proven that
the trial court lacked jurisdiction to convict him.  As to the second question, everyone
appears to agree that applicant is correct in his underlying claim that the trial court did not
have jurisdiction to convict and sentence him to prison. (1)  But he cannot obtain relief on that
claim unless this Court first decides that we have jurisdiction to consider it.  The
determination regarding this Court's jurisdiction over applicant's subsequent writ, therefore,
is the focus of my dispute with the majority opinion.  I disagree with the majority opinion's
holding that applicant's claim is procedurally barred under Texas Code of Criminal
Procedure Article 11.07, Section 4, the statute that contains procedural requirements for
consideration of subsequent habeas applications. (2)  See Tex. Code Crim Proc. art. 11.07, §
4(a).  I conclude that this Court has jurisdiction to address applicant's subsequent writ
because (1) the requirements governing subsequent writs do not apply to a claim that the trial
court lacked jurisdiction and, alternatively, (2) if those requirements do apply, that claim
raises a constitutional violation that satisfies the procedural requirements so as to permit
review. Having determined that this Court has jurisdiction over this subsequent writ, I would
grant applicant relief.


I.  Requirements for Consideration of Subsequent Applications Are 

Inapplicable To Claims That Trial Court Lacked Jurisdiction 


	A claim that a trial court lacked jurisdiction is procedurally distinct from all other
claims that may be presented in an application for a writ of habeas corpus because it concerns
the power of the trial court to take any action at all other than to dismiss the case.  As shown
below, the Legislature understood this important distinction and intended that the procedural
requirements necessary for this Court's consideration of subsequent writs not apply to claims
alleging that the trial court lacked jurisdiction over a case.

	A.  Trial Court's Lack of Power Makes Conviction Forever a Nullity

	A court without jurisdiction lacks power over a case. See State ex rel. Millsap v.
Lozano, 692 S.W.2d 470, 481-83 (Tex. Crim. App. 1985). Jurisdiction is the source of a
court's "power to hear and determine the matter in controversy according to established rules
of law, and to carry the sentence or judgment of the court into execution." Id. at 481.
Jurisdiction "exists by reason of the authority vested in the court by the Constitution and
statutes" and "embraces everything in the case and every question arising which can be
determined in the case, until it reaches its termination."  Garcia v. Dial, 596 S.W.2d 524, 528
(Tex. Crim. App. 1980).

	This Court has specifically held that "judgments of conviction in courts without
jurisdiction of the defendant are an absolute nullity from their inception." Hoang v. State, 872
S.W.2d 694, 699 (Tex. Crim. App. 1993). Such a judgment "is attended by none of the
consequences of a valid judgment." Ex parte Seidel, 39 S.W.3d 221, 225 (Tex. Crim. App.
2001).  It binds no one. Paul v. Willis, 69 Tex. 261, 266 (1887).  It is "entitled to no respect
whatsoever because it does not affect, impair, or create legal rights."  Seidel, 39 S.W.3d at
225. 

	Absent jurisdiction to affect legal rights, a court's action is limited to dismissal of a
case.  Garcia, 596 S.W.2d at 528 n.5 (court without jurisdiction "has no authority to render any
judgment other than one of dismissal").  Any other judgment it purports to render "is a
nullity." Horan v. Wahrenberger, 9 Tex. 313, 319 (1852).

	 B.  Because Trial Court's Actions Are Nullity,  Jurisdictional Claims Are Unique

	It is meaningless to compare jurisdictional claims to other types of claims that may
be presented in an application for a writ of habeas corpus because the former claims are
procedurally distinct.  The rationale for this concept was explained in detail by a federal
district court in United States v. Baucum. 80 F.3d 539, 540-42 (D.C. Cir. 1996), cert. denied,
519 U.S. 879 (1996).  There, the court held that a claim challenging the constitutionality of
a statute involves a forfeitable, non-jurisdictional defect, which is procedurally different from
a claim that a trial court lacked "original jurisdiction" over the case.  Id. at 540-41. Baucum
observed that "a jurisdictional claim can never be waived" and that, "once a statute has been
declared unconstitutional, the federal courts thereafter have no jurisdiction over alleged
violations" because there is no valid law to enforce. Id. It concluded, however, that a "belated
assertion of a constitutional defect does not work to divest that court of its original
jurisdiction to try him for a violation of the law at issue." Id. at 541; see also Karenev v.
State, 281 S.W.3d 428, 434 (Tex. Crim. App. 2009) (holding that facial challenge to
constitutionality of statute not "jurisdictional" and thus subject to waiver or forfeiture).

	This rationale explains why the applicant's claim in Ex Parte Blue is procedurally
distinguishable from the claim at issue, which challenges the trial court's lack of jurisdiction. 
230 S.W.3d 151 (Tex. Crim. App. 2007). In Blue, Blue raised a claim that the federal
Constitution prohibited the execution of a mentally retarded person. Id at 154. This Court
held that the procedural requirements necessary for us to consider a subsequent writ applied
to that claim. Id. at 159. Because Blue involved a claim of non-jurisdictional constitutional
error, this Court properly held that the claim was subject to forfeiture under the subsequent-writ statute. Id. Unlike Blue, however, the claim here challenges the trial court's lack of
jurisdiction over applicant's conviction and sentence and, as detailed above, that type of
claim is not subject to waiver or forfeiture. (3)  See id.  Because constitutional rights may be
waived or forfeited by a defendant's action or inaction, a claim asserting a constitutional right
is procedurally distinct from a claim asserting that the trial court lacked jurisdiction, and,
therefore, reliance on precedent that applies rules of procedural default to a constitutional
right is misplaced.

	C.  The Legislature Did Not Intend to Procedurally Default Jurisdictional Claims

	For two reasons, I conclude that the Legislature did not intend to require a subsequent
writ raising a jurisdictional claim to meet the procedural requirements to qualify for this
Court's review. See Tex. Code Crim. Proc. art. 11.07, § 4(a).  I reach this conclusion by (1)
examining the plain language of the statute to determine the intent of the Legislature and (2)
examining the common-law history of habeas and the context in which the statute was
enacted.  See Boykin v. State, 818 S.W.2d 782, 785-86 (Tex. Crim. App. 1991) (courts should
apply plain language unless that would lead to absurd consequences that Legislature could
not&nbsp;possibly&nbsp;have intended, which would then permit review of extratextual factors). 

	First, the plain language of the statute expressly applies to a post-conviction habeas
application filed after a final felony conviction. See Tex. Code Crim Proc. art. 11.07, § 3(a).
("After final conviction in any felony case, the writ must be made returnable to the Court of
Criminal Appeals of Texas at Austin, Texas."). Here, however, no final conviction exists. 
"[A] judgment will never be considered final if the court lacked subject-matter jurisdiction." 
Dubai Petroleum Co. v. Kazi, 12 S.W.3d 71, 76 (Tex. 2000).  It is well-settled law that a
legal action by a court without jurisdiction is a nullity. See Horan, 9 Tex. at 319;  Seidel, 39
S.W.3d at 225.  This Court has recognized that no legal consequences can result from a court
with no power to act and that an action is a nullity even when a court has not yet declared it
to be a nullity.  See Hoang, 872 S.W.2d at 699 (holding that judgments that are nullity from
inception do not bar successive prosecutions under double jeopardy "even though such
judgments have not been formally vacated by a court of competent jurisdiction"); see also
Chambers v. Hodges, 23 Tex. 104, 110 (1859) (appellate affirmance of judgment rendered
without jurisdiction would itself be a nullity "by reason of the nullity of the judgment
appealed from"). (4)  Because an action that is a nullity is always that--even when a court has
not yet declared it to be a nullity--the plain language of the statute that prescribes the
requirements for subsequent writs that follow a "final conviction" is inapplicable to this
case. (5)                                 

	Second, it would be absurd to conclude that, in enacting the statute, the Legislature
intended to permit the continued incarceration of a person on the basis of a null conviction
that was rendered by a court with no power over the case.  We presume that the Legislature
understands applicable legal concepts when it enacts legislation. See Miller v. State, 33
S.W.3d 257, 260 (Tex. Crim. App. 2000) (in construing a statute, "it is presumed that the
legislature is aware of case law affecting or relating to the statute").  The Legislature,
therefore, understood that a court's power to act could never be affected by a party's consent,
action, or inaction, and, therefore, could not have intended for procedural default to preclude
a claim alleging that a trial court lacked jurisdiction.  A court that lacks jurisdiction may not
acquire it by a defendant's action or inaction or by subsequent judicial action.  See Marin v.
State, 851 S.W.2d 275, 279 (Tex. Crim. App. 1993) (jurisdiction not optional with parties
and cannot be waived by consent); Wynns v. Underwood, 1 Tex. 48, 49 (1846) ("[C]onsent
. . . cannot give jurisdiction.").  Implementation of this requirement is not optional and is
"independent of the litigants' wishes." Marin, 851 S.W.2d at 279.  Neither his inaction (e.g.,
failure to challenge jurisdiction) nor action (e.g., challenging the conviction on other
grounds) is of consequence. See id. Neither can transform a judgment that is a nullity into
one that is not. See Chambers, 23 Tex. at 104; Hoang, 872 S.W.2d at 699. Because the
Legislature understood that procedural-default rules do not apply to jurisdictional claims, it
could not have rationally intended to limit subsequent writs that allege that a trial court
lacked jurisdiction over a case through the inapplicable concept of procedural default.   

	The record conclusively shows that the trial court lacked jurisdiction over this cause. (6) 
Although this is a subsequent writ, a judgment that is a nullity for lack of jurisdiction "may
always be collaterally attacked." Seidel, 39 S.W.3d at 224 (citing Hoang, 872 S.W.2d at 698). 
I, therefore, would construe this application as one seeking a writ of habeas corpus under the
common law or permit the amendment of this application to include this ground and grant
relief.  

II.  Alternatively, Applicant's Claim Meets Requirements for Subsequent Writs


	I, alternatively, conclude that, even if the subsequent-writ statute applies to
jurisdictional claims, applicant is entitled to relief because he has satisfied one of the
statutorily enumerated exceptions. The statute permits a court to consider the merits of a
subsequent application if it contains facts establishing that, "by a preponderance of the
evidence, but for a violation of the United States Constitution no rational juror could have
found the applicant guilty beyond a reasonable doubt."  Tex. Code Crim. Proc. art. 11.07,
§ 4(a)(2).  Applicant has alleged facts that satisfy this criteria. 

	Applicant's application and the record reveal that the trial court adjudicated his guilt
without having jurisdiction over the proceedings.  A defendant is "denied due process of law
and due course of the law when the district court" acts without jurisdiction. Ex parte
Birdwell, 7 S.W.3d 160, 162 (Tex. Crim. App. 1999); see also U.S. Const. amend. XIV, §
1; Frank v. Mangum, 237 U.S. 309, 326 (1915) (due process requires that a criminal
prosecution be "before a court of competent jurisdiction"). But for this constitutional
violationnamely, the commencement of criminal proceedings by a court without
jurisdictionthe trial court, as factfinder, could not have found applicant guilty.  See Blue,
230 S.W.3d at 161; (7) see also Ex parte Knipp, 236 S.W.3d 214, 217 (Tex. Crim. App. 2007)
(permitting review of applicant's subsequent application raising double-jeopardy
constitutional claim under Texas Code of Criminal Procedure Article 11.07, Section 4(a)(2)). 

	I would, alternatively, hold that a habeas applicant alleging, in a subsequent writ, that
the trial court lacked jurisdiction to render a judgment satisfies Section 4(a)(2) if he
demonstrates by a preponderance of the evidence that no rational factfinder could find facts
sufficient to support that the trial court had jurisdiction over the proceedings.  See Tex. Code
Crim. Proc. art. 11.07, § 4(a)(2). &nbsp;Because applicant has done this, he is entitled to relief.

								Alcala, J.

Filed:  January 16, 2013

Publish				
1. 	This Court grants applicant relief on another, contemporaneously filed habeas application
in which he challenges his conviction in trial-court cause number 49550-B.  Applicant received both
that conviction and the present conviction in the same proceeding at issue, and his sentences are
running concurrently.  Although his applications in both cause numbers raise the same jurisdictional
challenge, the Court grants relief only in cause number 49550-B because it is the first time he has
challenged that conviction. Therefore, although his challenge to the trial court's lack of jurisdiction
is identical in both cases, this Court denies relief to him only in this case.  Unlike the majority
opinion, I would grant applicant relief on both of his applications.
2. 	The majority opinion observes that applicant has already challenged this conviction on other
grounds in a previous habeas application and has failed to allege new facts or law or a constitutional
violation.  See Tex. Code Crim Proc. art. 11.07, § 4(a) (setting forth procedural requirements for
subsequent writs and permitting review of only claims that allege either new facts or law or,
alternatively, a constitutional violation that resulted in defendant's conviction).  
3. 	The distinction between jurisdictional and non-jurisdictional claims has been somewhat
obfuscated by the language used to describe and analyze habeas claims at common law. Although
our case law historically has discussed habeas claims as challenging "void" judgments, the generic
term "void" has different implications depending on whether it applies to jurisdictional challenges
or non-jurisdictional challenges. On the one hand, a judgment rendered by a court wholly lacking
jurisdiction is "void" and, as discussed, is "an absolute nullity from [its] inception." Hoang v. State,
872 S.W.2d 694, 699 (Tex. Crim. App. 1993); see also Gallagher v. State, 690 S.W.2d 587, 589 n.1
(Tex. Crim. App. 1985).  On the other hand, even when a court initially had jurisdiction over an
action, we have labeled a judgment rendered by that court "void" if it arose from a fundamental or
constitutional defect. See Ex parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967) ("A
judgment of conviction obtained in violation of due process of law is void for want of jurisdiction
of the court to enter such judgment."); Ex parte Ross, 522 S.W.2d 214, 223 (Tex. Crim. App. 1975)
(ineffective assistance of counsel rendered judgment "void" so as to permit review on habeas). Such
a judgment, however, is not a nullity from its inception; it is "void" only insofar as it is subject to
collateral review. See Young, 418 S.W.2d at 826; Ross, 522 S.W.2d at 223. As the Supreme Court
has observed, "This is not to say that a state criminal judgment resting on a constitutional error is
void for all purposes," only for the purposes of affording a defendant confined on such a judgment
the fullest opportunity for plenary judicial review. Fay v. Noia, 372 U.S. 391, 424 (1963). The
labeling of judgments stemming from non-jurisdictional errors as "void" for purposes of habeas
review (ostensibly to bring those claims within the traditional habeas jurisprudential framework) has
generated ongoing confusion about the concept of voidness.   Although many different habeas claims
characterize judicial actions as "void," it is critical to avoid conflating actions that are a nullity from
their inception with actions that merely suffer a non-jurisdictional defect.
4. 	This Court has held that a defendant may waive a direct-appeal jurisdictional challenge to
the validity of the transfer of an action from juvenile to district court. Rushing v. State, 85 S.W.3d
283, 286 (Tex. Crim. App. 2002). In Rushing v. State, the Court reasoned that the Legislature could
limit the right of appeal because it could withhold that right entirely. Id. at 285 ("[T]he right to
appeal is not of constitutional magnitude, but is derived entirely from statute."). By contrast, the
Legislature may not withhold the right of habeas corpus. Tex. Const. Art. I, § 12 ("The writ of
habeas corpus is a writ of right, and shall never be suspended.").
5. 	It appears that the Legislature intended for challenges to the trial court's lack of jurisdiction
to proceed as they did under the common law.  For centuries, habeas review was limited almost
exclusively to challenges to a court's jurisdiction.  See, e.g., Wright v. West, 505 U.S. 277, 285
(1992) ("For much of our history . . . a prisoner seeking a writ of habeas corpus could challenge only
the jurisdiction of the court that rendered the judgment under which he was in custody."). By 
contrast, the enactment of the habeas statute occurred to address the expansion of writs other than
jurisdictional claims.  In recent decades, courts have recognized certain non-jurisdictional claims as
cognizable on habeas, namely, "denials of fundamental or constitutional rights." Ex parte Shields,
550 S.W.2d 670, 675 (Tex. Crim. App. 1976); see also Preiser v. Rodriguez, 411 U.S. 475, 485
(1973) (explaining that, although originally limited to determining whether court possessed
jurisdiction, "over the years, the writ of habeas corpus evolved as a remedy available to effect
discharge from any confinement contrary to the Constitution or fundamental law"); Ex parte Graves,
70 S.W.3d 103, 107-09 (Tex. Crim. App. 2002) (detailing evolution and expansion of habeas
review).  Today, habeas applicants may seek review of a myriad of errors, both jurisdictional and
non-jurisdictional.  The scope of claims cognizable on habeas has expanded considerably since the
origins of that remedy.  I conclude that the purpose of the habeas statute was to limit subsequent
writs to regulate the influx of applications raising claims that were only recently cognizable rather
than to limit the traditional common-law claim that the trial court lacked jurisdiction over the case.
6. 	After applicant's community-supervision period had expired, the court (1) issued a capias
for applicant's arrest; (2) found the allegations in the State's motion to adjudicate true; (3) convicted
applicant; and (4) sentenced him to five years in prison. See Tex. Code Crim Proc. art. 42.12, § 5(h)
(providing that trial court retains jurisdiction over community-supervision proceedings and may
adjudicate guilt after the community-supervision period has expired only "if before the expiration
the attorney representing the state files a motion to revoke, continue, or modify community
supervision and a capias is issued for the arrest of the defendant.").  Applicant, therefore, is in prison
on a judgment rendered by a court that has no jurisdiction over this case, which is the basis of his
complaint in the present application. See Ex parte Sandoval, 318 S.W.2d 64, 65-66 (Tex. Crim. App.
1958) (granting relief because "there was no criminal case against relator pending in [that court]
when the order for support was entered and that court was without jurisdiction to enter the support
order" under any law).
7. 	The statute refers to a "juror" as the adjudicator of guilt. See Tex. Code Crim Proc. art.
11.07, § 4(a).  Here, applicant's revocation of his deferred-adjudication community supervision and
conviction was by the court.  However, no rational juror could have found him guilty under the terms
of his plea-bargain agreement because the agreement provided that he would receive no finding of
guilt under his deferred adjudication.  In this respect, the present case is analogous to Ex parte Blue.
230 S.W.3d 151 (Tex. Crim. App. 2007). Although we held that Blue's subsequent habeas
application was subject to statutory procedural requirements, we concluded that his Atkins claim met
the third statutory exception, which, in relevant part, mirrors the language of the statutory exception
applicable here. Id. at 161. (citing Tex. Code Crim. Proc. art. 11.071, § 5(a)(3)). We explained that
sufficient evidence that an applicant was mentally retarded would meet this exception "if only for
the simple reason that the statutory [death-penalty] special issues would not be submitted to the
jurors in the first place." Id. In other words, given the absolute constitutional prohibition against
executing a mentally retarded offender, once it is demonstrated that an offender was mentally
retarded, no jury would ever be confronted with the special issues. Id. The same rationale applies to
this case.  No jury would ever be confronted with applicant's guilt because the plea-bargain
agreement limited the trial court's determination to a withheld finding of his guilt.


